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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

BRENDA VANDEWEGHE,                       :      Civil Action
                                         :
                    Plaintiff,           :      Case No. ____________
                                                            :
v.                                       :
                                         :
INTERNATIONAL BUSINESS                   :
MACHINES CORPORATION,                    :
                                         :
                    Defendant.           :      September 1, 2020


                                      COMPLAINT

      Plaintiff Breda VanDeWeghe, for her complaint against Defendant International

Business Machines Corporation, alleges as follows:

                                 NATURE OF THE ACTION

      1.      This is an action seeking damages based on Defendant’s discriminatory

practices in violation of the Age Discrimination in Employment Act, 29 U.S.C. § 621, et

seq. (“ADEA”), and the Connecticut Fair Employment Practices Act, Connecticut General

Statutes § 46a-51, et seq. (“CFEPA”). Beginning in 2012, Defendant began terminating

older employees disproportionately to its younger employees, did not offer older

employees open positions, and engaged in other tactics targeting its older employees in

an effort to create a significantly younger workforce. This conduct constitutes unlawful

discrimination under the ADEA and CFEPA. Plaintiff, as an older employee, was treated

less favorably than her younger peers and, as a result of a concerted corporate policy to

create a “younger” workforce, was terminated.
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                                          PARTIES

       2.      Plaintiff Brenda VanDeWeghe is an individual residing at 115 Colonial

Road, Unit 58, Stamford, Connecticut 06906.

       3.      Defendant International Business Machines Corporation (“IBM”) is a New

York corporation with its principal place of business located at 1 New Orchard Road,

Armonk, New York 10504. IBM does business in the State of Connecticut and, on

information and belief, maintains local offices at Milford and Southbury, Connecticut.

                               JURISDICTION AND VENUE

       4.      Jurisdiction over the subject matter of this litigation exists pursuant to 28

U.S.C. §1331 as Plaintiff asserts a claim under the ADEA. As to those claims not arising

under federal law but clearly so related to the claims in this action within the original

jurisdiction of this Court, jurisdiction exists under the doctrine of supplemental jurisdiction

as codified in 28 U.S.C. §1367, as well as due to diversity of citizenship pursuant to 28

U.S.C. §1332 in that the action involves citizens of different states and the amount in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

       5.      Venue is proper in this District pursuant to 28 U.S.C. §§1391(b)(2) as the

unlawful conduct giving rise to Plaintiff’s claims took place within the District of

Connecticut.

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       6.      Plaintiff timely filed administrative charges of discrimination and retaliation

with the Connecticut Commission on Human Rights and Opportunities (“CHRO”) and the

Equal Employment Opportunity Commission (“EEOC”) on September 17, 2018 and has

received a Right to Sue letter from the EEOC dated June 3, 2020, as well as a Release




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to Sue from the CHRO dated June 3, 2020. Copies are attached hereto as Exhibits A

and B, respectively.

                                 STATEMENT OF FACTS

       7.      In February of 2010, Plaintiff began working for IBM as an independent

contractor through a private employment service. Plaintiff worked for IBM’s Global

Business Services (“GBS”), IBM’s consulting services business unit. Her duties involved

recruiting individuals to work for GBS.

       8.      Plaintiff performed well in her recruiting role and in March of 2011, IBM

offered her a position as a “long-term supplemental employee” (“LTS”). As an LTS,

Plaintiff was an IBM employee.

       9.      On information and belief, in or about 2012, IBM instituted a program to

become a more youth-oriented – and demographically youthful – company. Specifically,

IBM embarked on a massive reinvention and rebranding campaign that had two

principal objectives: first, to transform IBM into a “Cognitive Solutions” company deeply

invested in the Cloud, Analytics, Mobile, Security and Social technology markets

(“CAMS”), and second, to change the face of IBM by recruiting and retaining “digitally

native” Millennials, which IBM defined as the generation born after 1980.

       10.     In May of 2014, IBM offered Plaintiff a full-time regular position as a

recruiter for GBS.




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        11.     At a 2014 conference titled “Reinvention In The Age of The Millennial,”

IBM expressly linked its success to Millennials, asserting that IBM’s “future growth will

be influenced by the values system of Millennials …” 1

        12.     Millennials represented a “trillion dollar market” and “billions” of dollars in

potential sales for IBM. To capture the Millennial market, IBM stated it had to “become

one with the Millennial mindset.” “Mindshare converts to marketshare,” IBM wrote, and

IBM’s “leadership in millennial engagement is the ideal value proposition for generating

CAMS pipeline, which is driven by Millennial traits.” 2 According to one IBM

spokesperson, “the secret to capturing the hearts, minds, and most importantly, wallets

of the millennial generation is likely working with you. Your millennial employees are

your most valuable and accessible asset when it comes to successfully marketing your

business to the millennial generation.” 2

        13.     In 2014, IBM published “Millennials: How IBM can effectively attract,

engage and retain this emerging generation.” Because Millennials meant big money for

IBM and because IBM “face[d] major competition with [other] companies acquiring

Millennials, both within the tech sector (i.e., Microsoft, Amazon) and beyond,” IBM

developed a “strategy to attract top Millennial talent.”




1
 See Reinvention in the Age of the Millennial, IBM Center for Applied Insights Blog published December
16, 2014, accessed at https://ibmcai.com/2014/12/16/reinvention-in-the-age-of-the-millennial/ (copy
attached as Exhibit C).
2
 See Marketing and the Millennial Mindset – An Interview with IBM’s Samantha Klein, The Marketing
Journal, June 3, 2016, available at http://www.marketingjournal.org/marketing-andthe-millennial-mindset-
an-interview-with-ibms-samantha-klein/ (copy attached as Exhibit D).


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       14.     IBM also instituted an “Early Professional” hiring program targeted solely

at young professionals. “The idea is to bring in as much young talent into the workforce

with every given opportunity.” 3

       15.     In June of 2015, IBM changed Plaintiff’s role to North American Executive

Referral Program Manager. Plaintiff’s duties included managing referrals of IBM

executives across all business units, in North America.

       16.     IBM’s recruitment targets were divided into two primary groups: early

professional hires (EPHs) and experienced professionals (EPs). EPHs were defined

broadly as persons with less than three (3) years of post-graduate work experience;

EPs were defined broadly as individuals with greater than three (3) years post graduate

work experience.

       17.     From the spring of 2014, IBM’s recruiting targets shifted drastically from

EPs to EPHs in an obvious attempt to populate the company’s ranks with younger

employees.

       18.     Plaintiff’s recruiter position required her attendance at many meetings in

which IBM’s recruitment strategy was explained and discussed for purposes of

implementation. In short, beginning in or about the spring of 2014, IBM human

resources executives repeatedly stressed that targets for recruitment of EPHs would be

substantially increased, with targets for EPs correspondingly decreased.

       19.     In her role as a recruiter, Plaintiff received many documents that

emphasized IBM’s approach to establishing a younger corporate demographic. One



3
 See IBM’s New Team to Focus on Millennials, Business Standard, May 31, 2016, accessed at
http://www.business-standard.com/article/companies/ibm-s-new-team-tofocus-on-millennials-
116053000677_1.html (copy attached as Exhibit E).


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such document (attached as Exhibit F) provided to the IBM GBS recruitment team

(including Plaintiff) in 2014 emphasized the direction and focus of recruitment efforts in

favor of EPHs. As noted in Exhibit F, as of 2014, the GBS recruitment team was told to

“[h]ire 80% of all hires as early professions” and to “[b]ackfill open seats with

promotions.” In this way, older employees would be moved out as the more newly-hired

EPHs moved up the ranks.

           20.        Exhibit F is only one example of many similar documents provided to IBM

recruiters to implement management’s demographic policy. Moreover, on information

and belief, the same policy – supported by the same type of document – were used in

all IBM business units, not just GBS.

           21.        “Successor generations X and Y are generally much more innovative and

receptive to technology than baby boomers,” IBM wrote in another publication. 4 “[A]ge

is catching up with Baby Boomers,” whom IBM referred to as “gray hairs” and “old

heads.” 5 Boomers were leaving work in increasing numbers “due to retirement or

disability.” Those still working often needed accommodations for “‘wear and tear’

disabilities like hearing and vision impairment [sic] that older people routinely develop.”6




4
  See The Maturing Workforce, Innovation in Workforce Enablement, IBM Business Consulting Services,
2006, p. 6, available at https://www-935.ibm.com/services/uk/bcs/pdf/maturing-workforce-feus01291-1.pdf
(copy attached as Exhibit G).
5
    Id. at pp. 2-3.
6
    Id. at p. 3.



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       22.     In a 2015 paper entitled “To buy or not to buy? How Millennials are

reshaping B2B marketing,” 7 IBM again found that Boomer employees were not

motivated to consult their colleagues before making decisions. This was a negative trait

because “[f]or leading organizations, a corporate culture of collaboration and consensus

building is needed.” To create that culture, IBM recommended that companies “[p]ut

Millennials on [their] sales and marketing teams.”

       23.     In August, 2016, IBM Marketing Manager Erika Riehle stereotyped

Boomer employees as contributing to five workplace “dysfunctions.” 8 According to IBM,

Boomers are less trusting of their co-workers, less collaborative, less committed, less

accountable and less attentive to results. Compared to younger employees, IBM found

that Boomers were the least likely to understand IBM’s business strategy, least likely to

understand their manager’s expectations of them, least likely to understand what

customers wanted, and the least likely to understand IBM’s brand.

       24.     In her position as a GBS recruiter and later as Program Manager for North

American Executive Referrals, Plaintiff was well aware of IBM’s employee recruiting

strategy, as summarized in Paragraphs 9 through 23, above.

       25.     Plaintiff was a productive and successful employee and her performance

routinely met or exceeded IBM’s expectations.

       26.     In March of 2018, Plaintiff was 63 years old.




7
 Available at http://www-01.ibm.com/common/ssi/cgibin/ssialias?htmlfid=GBE03658USEN (copy
attached as Exhibit H).
8
  See Managing Millennials: 5 Common Issues Leaders Face, published August 24, 2016, accessed at
https://www.ibm.com/blogs/social-business/2016/08/24/managingmillennials-5-common-issues-leaders-
face/ (copy attached as Exhibit I).


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        27.     On March 28, 2018, Plaintiff’s manager, Louise Trudeau (Global Process

Talent Acquisition Leader), informed Plaintiff that her job was being eliminated and that

she was being permanently laid off effective June 28, 2018 as part of a “Resource

Action,” commonly referred to as an RA. Ms. Trudeau said Plaintiff would be offered a

severance package with an employment end date of June 27, 2018. Ms. Trudeau also

said Plaintiff would have a 30-day review period to decide whether to accept the terms

of the Severance Agreement, which would include a month’s severance pay and

subsidized COBRA.

        28.     Shortly thereafter, Plaintiff received a severance package that included the

offer Ms. Trudeau described on March 28, 2018. The severance agreement IBM

presented for Plaintiff’s signature included a release of all claims, with the exception of

age discrimination claims, which Plaintiff could pursue only through arbitration.

        29.     After being informed of her termination, Plaintiff applied for other positions

with IBM in an effort to continue her employment, but she was not hired for any of them.

        30.     On March 23, 2018, less than a week before she was given notice of her

termination, Plaintiff read a Propublica investigative article concerning the U.S. Equal

Employment Opportunity Commission’s large-scale investigation of IBM’s discriminatory

employment practices. 9




9
  See Cutting Old Heads at IBM, Propublica, March 22, 2018, available at
https://features.propublica.org/ibm/ibm-age-discrimination-american-workers/ (attached as Exhibit J).
.


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        31.     Once Plaintiff read the Propublica article, she recognized the

discriminatory methods and practices mentioned, as Plaintiff experienced them first

hand. As noted above, because of her recruitment role, Plaintiff was aware for some

time that IBM had changed its focus to hiring “younger” employees.

        32.     On May 17, 2018, Propublica issued a companion article focusing on the

U.S. Equal Employment Opportunity Commission’s large-scale investigation of IBM’s

discriminatory practices. 10

        33.     Both prior to and after learning of her termination, Plaintiff often checked

the Facebook page, Watching IBM: https://www.facebook.com/alliancemember/.

Plaintiff noticed that virtually all of the individuals who were let go in the March 2018

Resource Action (RA) were over 40 years old.

        34.     IBM treated substantially younger persons more favorably by (a) signaling

through its internal and external branding and marketing that IBM wished to hire and/or

retain younger persons, (b) applying subjective reduction-in-force criteria designed to

screen out older workers; (c) not selecting younger persons for reduction, (d) providing

younger workers training opportunities that were not provided to older workers, and (e)

transferring younger employees selected for reduction to other positions in IBM.

        35.     When IBM conducts a “Resource Action” (IBM speak for a reduction in

force), it shields its youngest employees from lay-off. IBM’s Early Professionals are

exempt from reduction for nine months from their hire date. Only IBM’s youngest

workers receive this special treatment.



10
   See Federal Watchdog Launches Investigation of Age Bias at IBM, Propublica, May 17, 2018, available
at https://www.propublica.org/article/federal-watchdog-launchesinvestigation-of-age-bias-at-ibm (attached
as Exhibit L).


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        36.     Not only does IBM shield its youngest workers from lay-off, at the same

time as IBM has laid off thousands of Baby Boomers, it has aggressively recruited and

hired many thousands of Millennials and members of Generations X and Z.

        37.     The deliberate age-based impact of IBM’s lay-offs was so stark and so

statistically significant that in 2014, IBM stopped requesting ADEA releases from its

terminated older workers. 11 IBM did this to circumvent the Older Workers Benefits

Protection Act (“OWBPA”).12 Although IBM stopped requesting releases of ADEA

claims, it nonetheless required any older worker who accepted IBM’s one month

severance offer to privately arbitrate their ADEA claims, subject to limited discovery and

a full waiver of the right to pursue or participate in a collective action under the ADEA.

        38.     Age discrimination taints IBM’s resource actions because IBM’s objective

is to make room for younger employees. But for IBM’s move to reinvent itself in the age

of the Millennial and its campaign to attract, engage and retain Millennial talent, older

workers like Plaintiff would not have been let go.

        39.     Although IBM involuntarily terminated Plaintiff, IBM subsequently recorded

her as having “resigned.” Plaintiff was also informed that IBM intended to code her

termination as “retired” rather than involuntary termination.



11
  See IBM Halts Practice of Disclosing Ages of Fired Older Workers, AARP Work Matters, May 12, 2014,
available at http://blog.aarp.org/2014/05/12/ibm-halts-practice-ofdisclosing-fired-older-workers/.
(“OWBPA”) (attached as Exhibit L).
12
  Under OWBPA, an employer requesting an ADEA waiver in connection with a group termination
program must provide terminated employees with a list of “the job titles and ages of all individuals eligible
or selected for the program, and the ages of all individuals in the same job classification or organizational
unit who are not eligible or selected for the program.” 29 U.S.C. § 626(f)(1)(H)(ii). Congress mandated the
disclosure of this comparative information because it believed that “[t]he principal difficulty encountered
by older workers in [a RIF] is their inability to determine whether the program gives rise to a valid claim
under the ADEA... The informational requirements set forth in the bill are designed to give all eligible
employees a better picture of these factors.” S. Rep. No. 101–263, at 67 (1990), reprinted in 1990
U.S.C.C.A.N. 1509.


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       40.     While Plaintiff’s manager stated that the reason for her layoff was job

elimination, Plaintiff was a target of age discrimination.

       41.     Had Plaintiff been younger, IBM would not have terminated her

employment.

       42.     Plaintiff’s age was a motivating factor in her selection for termination.



                                   CLAIMS FOR RELIEF

COUNT ONE – AGE DISCRIMINATION IN VIOLATION OF THE ADEA,
            29 U.S.C. §623(d)

       1-42. Plaintiff hereby repeats and realleges Paragraphs 1 through 42 as if more

fully set forth herein.

       43.     Plaintiff was at all times relevant hereto an “employee” as that term is

defined in 29 U.S.C. §630(f).

       44.     IBM is an “employer” within the meaning of 29 U.S.C. §630(b).

       45.     At all relevant times hereto, IBM employed more than 20 persons.

       46.     IBM discriminated against plaintiff on the basis of age in violation of the

ADEA, 29 U.S.C § 623(a).

       47.     As a direct and proximate result of the IBM’s conduct, Plaintiff has suffered

damages, including but not limited to substantial loss in earnings.




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COUNT TWO – AGE DISCRIMINATION IN VIOLATION OF CFEPA,
           CONN. GEN. STAT. § §46A-60(a)

       1-42. Plaintiff hereby repeats and realleges Paragraphs 1 through 42 as if more

fully set forth herein.

       43.     Plaintiff was at all times relevant hereto an “employee” as that term is

defined in Connecticut General Statutes §46a-51(9).

       44.     IBM is an “employer” as that term is defined in Connecticut General Statutes

§46a-51(10).

       45.     At all relevant times hereto, IBM employed more than three persons.

       46.     Defendant’s conduct, by and through its agents, in treating Plaintiff in a

manner unequal to other employees, discriminatorily denied Plaintiff equal treatment on

the basis of her age in violation of C.G.S. §46a-60(b)(1).

       47.     As a result of IBM’s conduct, Plaintiff has suffered and will continue to suffer

past and future economic, physical and emotional harm.




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       WHEREFORE, Plaintiff seeks the following relief:

                  1. Compensatory damages, including loss of enjoyment of life,

          emotional pain and suffering, back pay, bonuses, and the value of all other

          employment benefits in an amount to be determined by the trier of fact, with

          interest from the date when said sums were due;

                  2. Front pay;

                  3. Liquidated damages under the ADEA;

                  4. Punitive damages;

                  5. Attorneys’ fees;

                  6. Prejudgment interest and costs; and

                  7. Such other and further relief as this Court shall deem just and proper.

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

demand a trial by jury on all issues so triable.



                                           PLAINTIFF
                                           BRENDA VANDEWEGHE

                                    By:    /s/ Douglas J. Varga
                                                 Douglas J. Varga (CT18885)

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                                    Her Attorneys




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